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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA



 AMERICAN FEDERATION OF LABOR                              Case No. 1:25-cv-00339-JDB
 AND CONGRESS OF INDUSTRIAL
 ORGANIZATIONS, et al.,

    Plaintiffs,                                            Judge John D. Bates
         v.

 DEPARTMENT OF LABOR, et al.,

    Defendants.



                             DECLARATION OF GAREY RICE
I, Garey Rice, declare under penalty of perjury, pursuant to 28 U.S.C. § 1746, as follows:
   1.     I am the same Garey Rice that previously prepared a declaration dated February 13,
          2025, in support of the Government’s opposition to Plaintiffs’ renewed motion for a
          temporary restraining order.

   2.     I am the Principal Deputy Assistant Secretary – Operations in the Office of the
          Assistant Secretary for Financial Resources, United States Department of Health &
          Human Services (“HHS”).

   3.     In this capacity, I am responsible for providing executive direction, assistance and
          support for all operations and activities of the Assistant Secretary for Financial
          Resources (“ASFR”). The position coordinates a variety of administration and
          operations projects and tasking on behalf of the ASFR. I am responsible for assuring
          that priority actions and those of particular interest to the ASFR are coordinated,
          staffed, and properly executed throughout the organization. I work closely with the
          ASFR managers to develop and implement strategies for increasing the efficiency and
          value of management systems throughout ASFR office. I provide leadership in
          improving ASFR business, information management, human capital, and infrastructure
          systems.

   4.     The statements contained herein are based on my personal knowledge or upon
          information provided to me in my official capacity.
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   5.     On January 20, 2025, President Trump issued Executive Order 14,158, redesignating
          the United States Digital Service as the United States DOGE Service (“USDS”). The
          EO directs the USDS to modernize government technology and software to increase
          efficiency and productivity and to follow rigorous data protection standards and comply
          with all relevant laws when accessing unclassified agency records, software systems,
          and IT systems. It likewise directs agencies to ensure USDS has full access to all
          unclassified agency records and software and IT systems.

   6.     As stated in my prior declaration, at least one USDS employee was detailed to HHS in
          furtherance of the EO in early February 2025 (“HHS detailee”).

   7.     In addition, I have since learned that another USDS employee was detailed to the
          Centers for Medicare and Medicaid Services (“CMS”) in furtherance of the EO in the
          same February 2025 time frame (“CMS detailee”). This detailee was previously
          detailed from USDS to CMS from 2018 to March 2020 to work on CMS health data
          interoperability and modernizing technology.

   8.     Both of these individuals were converted to direct hires of HHS on March 4, 2025.
          True and correct copies of their SF-61 Appointment Affidavits are attached to this
          declaration as Attachment A. Both individuals also continue to be employees of USDS.

   9.     Prior to being converted to a direct hire, the HHS detailee was not granted access to any
          sensitive systems at the agency. And that remains the case even after the individual
          became a direct hire of the agency.

   10.    Likewise, while the CMS detailee has been granted permission to access certain
          sensitive systems at CMS, that individual has not actually accessed any of these
          systems, either while a detailee or since becoming a direct hire of the agency.

   11.    I am not aware of any plans to onboard new detailed employees in the future to work on
          DOGE projects at HHS.


   I declare under penalty of perjury that the foregoing is true and correct.

                                             GAREY R.           Digitally signed by GAREY
                                                                R. RICE -S

Executed on March 11, 2025                   RICE   -S          Date: 2025.03.11 13:33:21
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                                              Garey Rice
                                              Principal Deputy Assistant Secretary – Operations
                                              Office of the Assistant Secretary for Financial
                                                 Resources
                                              U.S. Dept. of Health & Human Services



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